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                                      EXHIBIT D
           Summary of Marchand ICS Group Hours Worked and Fees Incurred

 Name of Professional   Title               Hourly Billing   Total Billed   Total Compensation
                                            Rate             Hours
 Ferdinand Díaz         Project Manager            $125.00          7.80                 $975.00
 Jorge Marchand                 Principal          $175.00        492.90              $86,257.50
 Julizzette Colón       Media Assistant             $70.00        127.60               $8,932.00
 Male Noguera           Media Manager               $95.00        550.90              $52,335.50
 María Schell            Business Editor           $110.00        541.50              $59,565.00
            Total                                               1,720.70             $208,065.00
